Case 15-12075-BLS Doc 271-1 Filed 11/25/15 Page 1 of 4

EXHIBIT A

 

Case 15-12075-BLS Doc 271-1 Filed 11/25/15 Page 2 of 4

TAYLOR-WHARTON |NTERNALTlONAL, LLC, ET. AL.

FOR PROFESS|ONAL SERV|CES RENDERED FROM10/0112015 THROUGH AND lNCLUD|NG 10/31/2015 BY PROFESS|ONAL STAFF:

 

 

Professicnal Date Description of Services Rate Hours Fees

Georgiana Nertea 10/16/2015 initial meeting with Committee counsel to review case information and $ 390.00 2.9 $ 1,131.00
develop strategy and workplan.

Georgiana Nertea 10/17/2015 Conference call W. Weitz. Debtors' CRO and investment banker re: 390.00 1.0 390.00
projections and operations

Georgiana Nertea 10/17/2015 Follow-up conference call with W. Weitz re: call with CRO and lB. 390.00 0.5 195.00

Georgiana Nertea 10/17/2015 Conference call W. Weitz, W. Pederson and Lowenstein re: case 390.00 0.8 312.00
overview and information received.

Georgiana Nertea 10/18/2015 Conference call W. Weitz, Debtors' CRO and FA re: operations and 390.00 1.0 390.00
financial performance.

Georgiana Nertea 10/18/2015 Ca|| with G. Nenea, W. Weitz, Lowenstein re: case strategy. financial 390.00 0.6 234,00
projections and upcoming hearing.

Georgiana Nertea 10l20l2015 Call with W. Weitz re: bid procedures hearing. 390.00 0.3 117.00

Georgiana Nertea 10/20/2015 Prep for and call with W. Pederson and W. Weitz re: information 390.00 0.5 195.00
request.

Georgiana Nertea 10/20/2015 Prep for and call with W. Pederson re: Debtors' documents located in 390.00 0.5 195.[10
the data room and documents to request |ist.

Georgiana Nertea 10/20/2015 Prep for and telephonic appearance-Bid procedures hearing. 390.00 D.B 234.00

Georgiana Nertea 10/20/2015 Review of Debtors' data room for projections on divisional/consolidated 390.00 1.6 624.00
basis.

Georgiana Nertea 10/21/2015 Review data room re: intercompany transactions and email W. 390.00 0.7 273.00
Pederson and W. Weitz

Georgiana Nertea 10/21/2015 Review Court docket and update calendar of events in case, meeting 390.00 0.5 195.00
requests to W. Pederson and W.Weitz

Georgiana Nertea 10/21/2015 Conference call with W. Pederson, W. Weitz and Lowenstein re: DlP 390.00 0.5 195.00
terms and OCUC objection.

Georgiana Nertea 10/21/2015 OCUC conference cal|. 390,00 0.6 234.00

Georgiana Nertea 10/22/2015 Review of data room re: personnel org charts and email to counsel and 390.00 0.5 195.00
EA case team.

Georgiana Nertea 10/23/2015 Conf call W.P. Weilz and W. Pederson re: D|P and business analysis. 390.00 1.1 429.00

Georgiana Nertea 10/23/2015 Correspondence with counsel and review of records in the data room 390.00 0.6 234.00
re: APA schedules; t/c with counsel re: same.

Georgiana Nertea 10/23/2015 Prep for and T/C with counse|, W.P. Weitz and W. Pederson re: 390.00 0.6 234.00
information request and open items.

Georgiana Nertea 10/26/2015 Conf. call with Stifel (lB) re: updates on data room activity, potential 390.00 0.5 195.00
buyers; values etc.

Georgiana Nertea 10/26/2015 Conference call with Argus (CRO), W. Pederson and W.Weitz. 390.00 1.0 390.00

Georgiana Nertea 10/26/2015 Review KE|P motion; email anlaysis to W. Weitz and W. Pederson. 390.00 0.3 117.00

Georgiana Nertea 10/26/2015 Conference call with OCUC counsel re: updates from the conference 390.00 0.7 273.00
call with Argus (CRO).

Georgiana Nertea 10/26/2015 Review cash flow from CRO through 2016 updated with actuals. 390.00 0.7 273.00

Georgiana Nertea 10/26/2015 OCUC conference ca|l. 390.00 0.8 312.00

Georgiana Nertea 10/27/2015 Compare original personnel org charts downloaded from data room to 390.00 1.3 507.00
updated personnel org charts and send conclusions to W.P. Weitz and
W. Pederson.

Georgiana Nertea 10/27/2015 Review Debtors' documents downloaded from data room. 390.00 0.3 117.00

Georgiana Nertea 10/27/2015 Conespondence with W.P. Weitz and W. Pederson re: Court Ca|l dial» 390.00 0.2 78.00
in DlP hearing the following day.

Georgiana Nertea 10/27/2015 Review Reply of Antares Cap LP to the Obj of the OCUC to DlP. 390.00 1.3 507.00

Georgiana Nertea 10/27/2015 OCUC conference call following deposition. 390.00 0.9 351 .00

Georgiana Nertea 10/27/2015 Follow-up and email correspondence with Argus re: line items details 390.00 0.3 117.00
and GL dump in Excel.

Georgiana Nertea 10/28/2015 Attend telephonically the DlP hearing with Judge Shannon. 390.00 0.9 351 .OD

Georgiana Nertea 10/28/2015 Conf call with W. Pederson to follow up on OCUC status call 390.00 0.5 195.00
discussion.

Georgiana Nertea 10/28/2015 OCUC conference call before hearing. 390.00 0.3 117.00

Georgiana Nertea 10/28/2015 OCUC update conference call following hearing. 390.00 0.5 195.00

Georgiana Nertea 10/29/2015 Review updated budget from Argus and compare to previous version. 390.00 0.5 195.00

Georgiana Nertea 10/30/2015 Review of deposition transcript of Debtors' CRO. 390.00 0.5 195.00

Georgiana Nertea 10/30/2015 Correspondence with Argus re: TSA line item breakout and access to 390.00 0.5 195.00
Argus share file re: GL.

Georgiana Nertea 10/30/2015 Review Court docket and update case calendar re: sale hearing and 390.00 0.7 273.00
objections and create meeting invites for W. Weitz and W. Pederson.

Georgiana Nertea 10/30/2015 Review Court docket re: final utilities and CV hearings and send 390.00 0.5 195.00
meeting invites to W. Pederson and W. Weitz.
Georgiana Nertea Tota| 28.6 11,154.00

Wayne Weitz 10/16/2015 lnitial meeting with Committee counsel to review case information and 600.00 2.9 1,740.00
develop strategy and workplan.

Wayne Weitz 10/17/2015 Prepare for conference call with CRO and lB. 600.00 0.8 480.00

Page 1 of 3

 

Case 15-12075-BLS Doc 271-1 Filed 11/25/15 Page 3 of 4

TAYLOR-WHARTON |NTERNALT|ONALl LLC, ET. AL.
FOR PROFESS|ONAL SERV|CES RENDERED FROM 10/01[2015 THROUGH AND lNCLUD|NG 10/31/2015 BY PROFESS|ONAL STAFF:

 

 

Professiona| Date Description of Services Rate Hours Fees

Wayne Weitz 10/17/2015 Conference call G. Nerteal Debtors' CRO and investment banker re: 600.00 1.0 600.00
projections and operations

Wayne Weitz 10/17/2015 Follow-up conference call with G. Nertea re: call with CRO and lB. 600.00 0.5 300,00

Wayne Weitz 10/17/2015 Conference call G. Nerteal W. Pederson and Lowenstein re: case 600.00 0.8 480.00
overview and information received.

Wayne Weitz 10/17/2015 Email correspondence to Debtor‘s advisors and UCC counsel re: and 600.00 1.9 1,140.00
review of information provided by Debtor.

Wayne Weitz 10/17/2015 Email correspondence counsel re: information request. 600.00 0.4 240_00

Wayne Weitz 10/17/2015 Update critical dates on calendar. 600.00 0.5 360,00

Wayne Weitz 10/18/2015 Review information received from Debtors; email correspondence 600.00 1.4 840.00
Lowenstein re: same.

Wayne Weitz 10/18/2015 Email correspondence counsel re: open items not yet reoeived. 600.00 0.3 180,00

Wayne Weitz 10/18/2015 Review financial projection model. 600.00 1.1 660.00

Wayne Weitz 10/18/2015 Conference call G. Nertea, Debtors' CRO and FA re: operations and 600.00 1 .O 600.00
financial perfomiance.

Wayne Weitz 10/18/2015 Conf call N. Brown (V\hnd Point) re: equity ownership history and 600.00 0.4 240_00
objectives

Wayne Weitz 10/18/2015 Ca|| with G. Nertea, W. Pederson, Lowenstein re: case strategy, 600.00 0.6 360.00
financial projections and upcoming hearing.

Wayne Weitz 10/19/2015 Review draft objection to bid procedures; comments to counsel. 600.00 2.2 1,320.00

Wayne Weitz 10/19/2015 Prepare for Committee conference cal|. 600.00 0.6 360.00

Wayne Weitz 1011 9/2015 OCUC conference cal|. 600.00 0.6 360.00

Wayne Weitz 10/20/2015 Call with G. Nertea re: bid procedures hearing; email correspondence 600.00 0.3 180.00
W. Pederson, re: same.

Wayne Weitz 10/20/2015 Cal| with G. Nertea re: bid procedures hearing. 600.00 0.3 180.00

Wayne Weitz 10/21/2015 Calls with C. Weinstein, J. Bakst re: conflict check. 600.00 0.3 180.00

Wayne Weitz 10/21/2015 Conference call with W. Pedersonl G. Nertea and Lowenstein re: DlP 600.00 0.4 240.00
terms and OCUC objection.

Wayne Weitz 10/21/2015 Prepare for call with counsel re: DlP and DlP objection prep. 600.00 0.4 240.00

Wayne Weitz 10/21/2015 OCUC conference call. GOD.O|J 0.6 360.00

Wayne Weitz 10123/2015 Prepare Retention App|ication. BOD.OD 0.4 240.00

Wayne Weitz 10/23/2015 Review changes and edits to retention application; update draft, GOIJ.OIJ 0.4 240.00

Wayne Weitz 10/23/2015 Conf call G. Nertea and W. Pederson re: DlP and business analysis. 600.00 1.1 660.00

Wayne Weitz 10123/2015 Email correspondence and TlC counsel, G. Nertea and W. Pederson 600.00 0.9 540.00
re: lnfonnation request and open items.

Wayne Weitz 10/24/2015 Review latest budget projection from Debtor to assess solvency; e~mai| GOD.O|J 1.1 660_00
correspondence Committee counsel with analysis re: same.

Wayne Weitz 10/25/2015 Review Week 1 variance analysis received from Debtor; email 600.00 0.3 180.00
correspondence EA case team re: same.

Wayne Weitz 10/26/2015 Conference call with GN, CRO re: updated projections and business 600.00 1.0 600.00
operations

Wayne Weitz 10/26/2015 Conference call G. Nertea and M. Seymour re: projections and SOD.OD 0.4 240.00
operations.

Wayne Weitz 10/26/2015 Document review to prepare for Doherty deposition. 600.00 1.8 1,080.00

Wayne Weitz 10/26/2015 Review and summarize budgeted professional fees in 115-week cash SOD.OU 0.8 480.00
flow at request of counse|; email correspondence counsel re: same.

Wayne Weitz 10/26/2015 Conference call W. Pederson, G. Nertea, Argus re: budget; follow-up 600.00 1.4 840.00
conference call W. Pederson. G. Nertea re: same.

Wayne Weitz 10/26/2015 Conference call Lowenstein team to follow up on conference call with 600.00 0.7 420.00
CRO.

Wayne Weitz 10/26/2015 OCUC conference call. 600.00 0.8 480.00

Wayne Weitz 10/27/2015 Round trip travel VWlmington for T. Doherty deposition. 300.00 1.5 450.00

Wayne Weitz 10/27/2015 Document review in preparation for T. Doherty deposition. 600.00 1.8 1,080.00

Wayne Weitz 10/27/2015 Meeting Lowenstein, Rosner to prepare for Doherty Deposition. 600.00 1.5 900.00

Wayne Weitz 10/27/2015 Attend T. Doherty deposition. 600.00 4.0 2,400.00

Wayne Weitz 10/27/2015 Meeting with W. Jung, B. Beuchler follow-up to Doherty deposition. 600.00 1.7 1,020.00

Wayne Weitz 10/27/2015 OCuC conference call following deposition. 600.00 0,9 540.00

Wayne Weitz 10/28/2015 Round trip travel to V\hlmington for DlP hearing. 300.00 1.5 450.00

Wayne Weitz 10I28l2015 Meeting W. Jung, M. Seymour to prepare for DlP hearing, 600.00 0.5 300.00

Wayne Weitz 10/28/2015 Attend DlP hearing, including negotiation meetings during court breaks. 600.00 4.3 2,580.00

Wayne Weitz 10/28/2015 OCUC conference call prior to DlP hearing. 600.00 0.3 180_00

Wayne Weitz 10/28/2015 OCUC update conference call following hearing. 600.00 0.5 300.00

Wayne Weitz 10/30/2015 Review actual results and updated projection model. 600.00 1.1 660.00

Wayne Weitz 10/30/2015 Revise retention application; email correspondence counsel re: same. 600.00 0.8 480.00
Wayne Weitz Total 50.9 29,640.00

V\nlliam J, Pederson 10/17/2015 Conference call G. Nertea, W. Weitz and Lowenstein re: case overview 490.00 0.8 392.00
and information received.

\Nilliam J. Pederson 10/18/2015 Review of pleadings/filings to prepare for upcoming Committee call re: 490.00 1 .D 490.00

first Day declaration, DlP Financing Motion.

Page 2 of 3

Case 15-12075-BLS Doc 271-1 Filed 11/25/15 Page 4 of 4

TAVLOR-WHARTON |NTERNALTlONAL, LLC, ET. AL.
FOR PROFESSIONAL SERV|CES RENDERED FROM 10ID1I2015 THROUGH AND |NCLUD|NG 10/31/2015 BY PROFESS|ONAL STAFF:

 

 

 

Professional Date Description of Services Rate Hours Fees

V\A|liam J. Pederson 10/18/2015 Call with G. Nertea, W. Pederson. Lowenstein re: case strategy, 490.00 0.6 294.00
financial projections and upcoming hearing.

V\hl|iam J, Pederson 10/19/2015 Review of LOls and other interest letters. 490.00 0.9 441 .00

V\hl|iam J. Pederson 10/1 912015 Review of documents and pleadings to prepare for upcoming hearing. 490.00 3.1 1,519.00

V\hlliam J. Pederson 10/19/2015 Creditors' Committee call re: upcoming hearing, marketing of Debtoi‘s 490.00 0.6 294.00
assets. insurance issues.

V\hlliam J. Pederson 10/20/2015 Travel time tclfrom V\n|mington to attend DlP nnancing hearing. 245.00 1.1 269.50 t

V\hl|iam J. Pederson 10/20/2015 Attend meeting with Committee counsel following hearing, 490.00 1.1 539.00 `

William J. Pederson 10/20/2015 Prep for and call with G. Nertea re: Debtors' documents located in the 490.00 0.5 245.00
data room and documents to request list.

V\h||iam J. Pederson 10/20/2015 Call with Committee counsel re: case strategy and upcoming objection 490.00 0.3 147.00
deadline. _

V\hlliam J. Pederson 10/20/2015 Attend DlP financing and bid procedures hearing in V\hlmington, DE. 490.00 1.0 490.00

William J. Pederson 10/20/2015 Review of documents in data room including financia|s statements and 490.00 1.6 784.00
trial balances, develop documents request listing for Debtor/Advisor.

V\Alliam J. Pederson 10/21/2015 Conference call with W. Weitz, G. Nertea and Lowenstein re: DlP 490.00 0.4 196.00
terms and OCUC objection.

V\hlliam J. Pederson 10/21/2015 Review of DlP financing motion and related documents 490.00 1.3 637.00

V\hlliam J. Pederson 10/21/2015 OCUC conference ca||. ' ' 490.00 , 0.7 343.00

V\h||iam J. Pederson 10/22/2015 Review of documents in data room including trial balance report. Email 490.00 2.1 1,029.00
to CRO re: document request.

V\A|liam J. Pederson 10122/2015 Review of monthly reporting packages from data room. 490.00 1.4 686.00

V\A|liam J. Pederson 10/23/2015 Review of documents including the asset purchase agreement and 490.00 1.2 588.00
exhibits.

\Mlliam J. Pederson 10/23/2015 Review of draft employment application. 490.00 0.2 98.[10

William J. Pederson 10/23/2015 Call with W.P. Weitz and G. Nertea re: budget analysis and discovery 490.00 0.4 196.00
documents

V\h||iam J. Pederson 10/23/2015 Call with Committee counsel re:503(b)(9) claims, admin accmals, 490.00 0.4 196.00
priority claims.

\Mlliam J. Pederson 10/23/2015 Follow-up call with G. Nertea and W. Weitz re: cash available from DlP 490.00 0.5 245.00
proceeds

William J. Pederson 10/24/2015 Review of DlP Motion and Bidding Procedures. 490.00 0.8 392.00

V\h|liam J. Pederson 10/25/2015 Review of emails and filed documents, prepare for upcoming DlP 490.00 0.5 245.00
hearing.

V\h|liam J. Pederson 10/26/2015 OCUC conference ca||. 490.00 0.8 392.00

V\hl|iam J. Pederson 10/26/2015 Review of filed documents and detailed budget, prepare for discussion 490.00 1.8 882.00
with Committee counsel re: TSA, insurance, non-debtor subsidiaries
and related liabilities. 7

V\h||iam .l. Pederson 10/26/2015 Review revised budget, prepare for upcoming call with CRO. 490.00 0.2 98.00

V\h|liam J. Pederson 10/26/2015 Call with CRO to review budget and underlying assumptions 490.00 1.0 490.00

V\Al|iam J. Pederson 10/26/2015 Call with Committee Counsel re: DlP financing and upcoming 490.00 0.7 343.00
deposition of CRO.

V\h|liam J. Pederson 10/27/2015 Review of DlP documents re: break-up fees and expense 490.00 0.3 147.00
reimbursement cap.

V\hlliam J. Pederson 10/28/2015 Attend telephonically the DlP hearing with Judge Shannon. 490.00 1.1 539.00

William J. Pederson 10/28/2015 Conf call with G. Nertea to follow up on OCUC status call discussion. 490.00 0.5 245.00 l

\M||iam J. Pederson 10/28/2015 Attend Committee call prior to DlP hearing re: negotiation update. 490.00 0.3 147.00 j

V\hlliam J. Pederson 10/28/2015 Post-hearing Committee call re: negotiations with Debtor, revised DlP 490.00 0.5 245.00
budget

William J. Pederson 10/29/2015 Review of revised projections and DlP order/revised DlP Financing. 490.00 0.4 196.00

\M||iam J. Pederson 10/30/2015 Review of documents re: cash flow forecast. 490.00 0.4 196.00
William J. Pederson Total 30.5 14,675.50
Total Hours and Fees 110.0 55,469.50
P|us Expense: Meals 75.55
P|us Expense: Mi|es 69.00
P|us Expense: Train Fare 51.00
P|us Expense: Telephone Court Appearance Charge 30.00
P|us Expense: Parking 28.00
Grand Total $ 55,723.05

 

 

Page 3 of 3

